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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                    (Eastern Division)



In re
                                                   Chapter 13
        ANDREW GREENHUT,
                                                   Case No. 19-10782-JNF
                       Debtor.



                    NOTICE OF APPEARANCE AND REQUEST FOR
                   NOTICES PURSUANT TO BANKRUPTCY RULE 2002

TO THE CLERK OF THE COURT AND ALL PARTIES:

       PLEASE TAKE NOTICE that, pursuant to Rule 2002 of the Federal Rules of Bankruptcy
Procedure, Alex F. Mattera and the law firm of Partridge Snow and Hahn LLP hereby appear for
Gita Srivastava in the above-captioned proceeding, and request that notice of all papers,
including but not limited to orders, reports, pleadings, motions, applications or petitions,
requests, disclosure statements, answering and reply papers, and notice of all hearings or other
proceedings, whether transmitted by mail, hand-delivery, telephone, telegraph, telex or
otherwise, relating to any issue which may be raised in the above-captioned case be sent to:
                       Alex F. Mattera
                       Partridge Snow and Hahn LLP
                       30 Federal Street
                       Boston, MA 02110
                       Telephone: (857) 214-3118
                       Facsimile: (617) 292-7910
                       Email:       amattera@psh.com

                                                 /s/ Alex F. Mattera
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Dated: April 4, 2019
